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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


In re:                                                        Chapter 11

iMedia Brands, Inc., et al.,1                                 Case No. 23-10852 (KBO)

                                                              (Joint Administration Requested)
                          Debtors.
                                                              Related Docket No. 18

                                                              Hearing Date: June 30, 2023, at 2:00 p.m. (ET)

      NOTICE OF HEARING2 ON DEBTORS’ MOTION FOR ENTRY OF INTERIM
            ORDER (I) AUTHORIZING POSTPETITION USE OF CASH
       COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO CERTAIN
     PREPETITION SECURED PARTIES AND C&B NEWCO; (III) SCHEDULING A
       SECOND INTERIM HEARING; AND (IV) GRANTING RELATED RELIEF

                  PLEASE TAKE NOTICE that on June 29, 2023, the above-captioned debtors

 and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of

 Interim and Final Orders (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting

 Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III) Scheduling a

 Second Interim Hearing; and (IV) Granting Related Relief [Docket No. 18] (the “Cash Collateral

 Motion”).

                  PLEASE TAKE FURTHER NOTICE that the Debtors attached to the Cash

 Collateral Motion the proposed Interim Order (I) Authorizing Postpetition Use of Cash

 Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured Parties and C&B

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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision
     Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision
     Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties,
     LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
     (2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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     The hearing will be conducted via Zoom videoconference. You may register to monitor or appear at the hearing
     by following this link:
     https://debuscourts.zoomgov.com/meeting/register/vJItdOGopzgqG6jJXE8xCFDpa06g5Zhflz8.

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Newco; (III) Scheduling a Second Interim Hearing; and (IV) Granting Related Relief (the

“Proposed Interim Order”).     A copy of the Proposed Interim Order is attached hereto as

Exhibit A.

                 PLEASE TAKE FURTHER NOTICE that the Debtors intend to seek interim

approval of the Cash Collateral Motion and entry of the Proposed Interim Order in substantially

the form attached hereto at a hearing by video conference (the “Interim Hearing”) before the

Honorable Karen B. Owens at the United States Bankruptcy Court for the District of Delaware

(the “Court”), located at 824 North Market Street, 6th Floor, Courtroom No. 3, Wilmington,

Delaware 19801, on June 30, 2023, at 2:00 p.m. (Eastern time). A copy of the Cash Collateral

Motion may be obtained for a fee through the Court’s website at www.deb.uscourts.gov,

referencing Case No. 23-10852 (KBO), or may be obtained for free by accessing the Debtors’

restructuring website at https://cases.stretto.com/iMediaBrands.

                 PLEASE TAKE FURTHER NOTICE that after the Interim Hearing, the

Debtors will serve upon you a complete copy of (a) the Cash Collateral Motion, (b) any Interim

Order entered by the Court at the Interim Hearing, and (c) notice of the final hearing on the Cash

Collateral Motion.




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                 PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to

modify, if necessary, the Proposed Interim Order before or at the Interim Hearing.

Dated: June 29, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

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                                      Proposed Counsel to the Debtors and Debtors in Possession




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